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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


 TRACEY DAMRAU and DANIELLE OSHEA,
 individually and on behalf of all others similarly
 situated,
                                                         Civil Action No. 4:24-cv-01441
                         Plaintiff,
         v.

 COLIBRI GROUP, LLC,

                         Defendant.

     PLAINTIFFS’ FIRST UNOPPOSED MOTION FOR EXTENSION OF TIME TO
              RESPOND TO DEFENDANT’S MOTION TO DISMISS

        Tracey Damrau and Danielle Oshea (“Plaintiffs”) respectfully request an extension of time

to respond to Defendant’s Motion to Dismiss, See Doc. [16], filed on January 23, 2025. In support

of their Motion, Plaintiffs state:

        1.      Plaintiffs filed their Complaint on October 25, 2024. See Doc. [1].

        2.      Defendant was served on October 29, 2024.

        3.      On January 23, 2025, Defendant moved to dismiss Plaintiffs’ First Amended

Complaint. See Doc. [16].

        4.      Pursuant to Rule 7 of Federal Rules of Civil Procedure and Local Rule 4.01,

Plaintiffs must file a response to Defendant’s Motion to Dismiss by February 6, 2025, and

Defendant must file its reply by February 18, 2025. See Fed. R. Civ. P. 7.

        5.      Plaintiffs respectfully request a twenty-one (21) day extension of their deadline to

respond to Defendant’s motion and an eleven (11) day extension of Defendant’s deadline to file

its reply.
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        6.      This is Plaintiffs’ first request for an extension of time. This Motion is made in

good faith and with no intent of delaying this matter. Specifically, Plaintiffs’ Counsel has pre-

scheduled travel that cannot be rescheduled and the press other deadlines also require their

attention. Plaintiffs therefore request a twenty-one (21) day extension of time for Plaintiffs’ to file

their response and an eleven (11) day extension for Defendant to file its reply, making the new

deadlines February 27, 2025 and March 20, 2025, respectively.

        7.      Counsel for Defendant does not oppose this request.

        8.      No party will be prejudiced if the Court grants this request. As no Case

Management Order has yet been entered, granting this Motion will not affect any other deadlines

in this case.

        WHEREFORE, Plaintiffs respectfully request that this Court grant this extension of time,

up to and including February 27, 2025 for Plaintiffs’ to file their response and March 20, 2025, for

Defendant to file its reply.


Dated: January 27, 2025                                        HEDIN LLP

                                                               /s/ Elliot O. Jackson
                                                               Elliot O. Jackson
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                                                               Counsel for Plaintiffs and Putative
                                                               Class




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                                CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on January 27, 2025, the foregoing was filed

electronically using the Court’s CM/ECF system, which will serve a copy upon all parties of

record.

                                                   /s/ Elliot O. Jackson




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